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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

    BELICIA CRUZ, individually and on behalf
    of all others similarly situated,
                                                      Case No. 1:22-cv-01966
                     Plaintiff,
          V.                                          Hon. Sharon Johnson Coleman

    THE CONNOR GROUP, A REAL ESTATE                   Hon. Magistrate Gabriel A. Fuentes
    INVESTMENT FIRM, LLC,

                     Defendant.

                        ORDER GRANTING FINAL APPROVAL
                   OF CLASS ACTION SETTLEMENT AND ORDER OF
                           DISMISSAL WITH PREJUDICE

         On October 26, 2022, the Court entered an order granting preliminary approval (the

"Preliminary Approval Order") to the Class Action Settlement Agreement ("Settlement

Agreement") between Plaintiff Belicia Cruz, individually and on behalf of the Settlement Class

(as defined below) and Defendant The Connor Group, A Real Estate Investment Firm, LLC

("TCG" or "Defendant"). 1

         Commencing on November 23, 2022, pursuant to the notice requirements in the

Settlement Agreement and the Preliminary Approval Order, Analytics Consulting, LLC (the

"Settlement Administrator"), provided Notice to the Settlement Class in compliance with

Paragraph 4 of the Settlement Agreement, due process, and Rule 23 of the Federal Rules of Civil

Procedure. The notice:

         (a)    fully and accurately informed Settlement Class Members about the Action and the

existence and terms of the Settlement Agreement;

         (b)    advised Settlement Class Members of their right to request exclusion from the



1
 Capitalized terms used in this Final Approval Order shall have the same meaning as defined in
the Settlement Agreement unless otherwise expressly stated.
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IT IS SO ORDERED, this ___         January
                       24th day of ______  , 2023.




                        Honorable Sharon Johnson Coleman
                        United States District Judge




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